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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF VERMONT


GARRET SITTS, et al.,

      Plaintiffs,                         Civil Action No. 2:16-cv-00287-cr

v.

 DAIRY FARMERS OF AMERICA, INC. and
 DAIRY MARKETING SERVICES, LLC,

      Defendants.



DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND DAIRY MARKETING
  SERVICES, LLC’S REPLY IN SUPPORT OF MOTION IN LIMINE NO. 5: TO
     EXCLUDE THE 1977 CONSENT DECREE, DFA’S SETTLEMENTS,
            AND DFA’S INTERNAL ANTITRUST GUIDELINES
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       In their Opposition to Dairy Farmers of America, Inc. and Dairy Marketing Services,

LLC’s (collectively “DFA”) Motion in Limine No. 5: To Exclude the 1977 Consent Decree, DFA’s

Settlements, and DFA’s Internal Antitrust Guidelines, ECF No. 229 (“Opp’n”), plaintiffs offer

three purported reasons to admit evidence regarding supposed violations of the 1977 Consent

Decree, the Allen Settlement, and DFA’s own internal Antitrust Guidelines to establish Sherman

Act liability: (1) to demonstrate “intent to monopsonize”; (2) to show that DFA “obtained its

monopsony power through predatory means”; and (3) to identify DFA’s “knowledge of the

anticompetitive nature of their conduct.”1 But these are not separate arguments; they are just three

ways of saying the same thing: that DFA knew (i.e., intended) that conduct proscribed by this

evidence violated the antitrust laws (i.e., that it was “predatory”). However framed, all of

plaintiffs’ arguments are based on the same faulty assumption: that the 1977 Consent Decree, the

Allen Settlement, and DFA’s Antitrust Guidelines proscribe conduct that is itself a violation of the

Sherman Act. But that is not so. Both the 1977 Consent Decree and Allen Settlement are third-

party agreements that DFA (or its predecessor) negotiated with the U.S. Department of Justice and

class plaintiffs, respectively, to resolve lawsuits. Nothing in those agreements purports to

impose the same obligations on DFA as the Sherman Act. See DFA’s Mot. in Limine No. 5 at

10-13, ECF No. 208 (“MIL No. 5”). Similarly, DFA’s Antitrust Guidelines discourage perfectly

legal conduct that may give rise to even the appearance of impropriety. Id.




1
        Opp’n at 2-3. Plaintiffs argue that DFA’s other settlements “simply prove[] Plaintiffs’
allegations and do[] not raise Rule 403 concerns.” Opp’n at 13-14. However, this argument fails
to provide any real support for the admissibility of DFA’s other settlements. None of the other
settlements resulted in a judgment on the merits; at most, they indicate that, at some prior time,
some other parties brought allegations against DFA. Yet plaintiffs clearly seek to use these former
(and long-since resolved) legal proceedings to paint DFA as a serial wrongdoer and prejudice the
jury against DFA. This would be improper, and the Court should exclude any such evidence or
related argument under Federal Rules of Evidence 403 and 404(b).
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       The 1977 Consent Decree is inadmissible for the independent reason that Section 5(a) of

the Clayton Act prohibits its use for any purpose, and plaintiffs are simply incorrect (and find no

support in the law) when they read that prohibition narrowly. Further, to the extent that there is

any marginal relevance to this evidence, none of plaintiffs’ arguments provides a legitimate excuse

for plaintiffs to mislead and confuse the jurors by inviting them to conclude DFA has violated the

antitrust laws because of conduct that plaintiffs claim is a violation of some other agreement or

guideline. And none provides a reason for the Court to permit the lengthy, irrelevant, and

prejudicial sideshow regarding the 1977 Consent Decree, the Allen Settlement, and DFA’s

Antitrust Guidelines that plaintiffs appear to want. Contrary to plaintiffs’ assertions, this Court’s

summary judgment order did not address the admissibility of any of this evidence, but it should do

so now and exclude it.

I.     DFA’S ALLEGED VIOLATIONS OF THE 1977 CONSENT DECREE, ALLEN
       SETTLEMENT, AND ANTITRUST GUIDELINES DO NOT DEMONSTRATE
       INTENT, KNOWLEDGE, OR PREDATORY CONDUCT AND WOULD
       CONFUSE THE JURY AS TO THE APPLICABLE LAW

       A.      The 1977 Consent Decree, Allen Settlement, And Antitrust Guidelines Are
               Not A Proxy For The Law

       All three of plaintiffs’ arguments for admitting evidence that DFA allegedly violated the

1977 Consent Decree, Allen Settlement, and Antitrust Guidelines – namely that such evidence

shows (1) DFA’s “intent”; (2) that DFA allegedly achieved its monopsony power through

“predatory” means; and (3) that DFA “knew” its conduct was anticompetitive – are built on a

faulty premise. In order for an agreement or guideline to show intent or knowledge that something

is unlawful, it actually has to proscribe conduct that is unlawful. But, as plaintiffs admit, the 1977

Consent Decree, Allen Settlement, and Antitrust Guidelines do not proscribe conduct that is

unlawful; therefore, DFA’s knowledge of what these documents prohibit is irrelevant to its

knowledge of what the antitrust laws prohibit or its intent to violate them. For the same reason,


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DFA’s guidelines or agreements cannot be evidence of predatory conduct, unless what they

prohibit is unlawful or predatory. Plaintiffs are simply seeking to substitute a different standard

for what they have to prove under the antitrust laws, and attempting to usurp the Court’s role as

the proper source of the legal standard that the jury must apply to DFA’s conduct.

       Plaintiffs’ argument that they are using the 1977 Consent Decree, Allen Settlement, or

Antitrust Guidelines to show that DFA “intentionally engaged in conduct . . . that it knew was

anticompetitive,” Opp’n at 7, 13, has already been considered and rejected by the court in In re

Southeastern Milk Antitrust Litig., No. 2:07-CV 208, 2011 WL 2749579 (E.D. Tenn. July 14,

2011). Although plaintiffs claim that their argument stands in “stark contrast” to that made by the

plaintiffs in Southeastern Milk, Opp’n at 11 n.11, the plain language of that opinion makes clear

that the court in Southeastern Milk rejected precisely the argument plaintiffs make here:

               As best the Court can tell, plaintiffs argue that proof of a violation
               of the consent decree by DFA would establish that, when defendants
               took the complained of actions, they knew the acts were
               anticompetitive because of the consent decree. Yet the consent
               decree contained no finding or admission that these acts were anti-
               competitive or illegal under the Sherman Act.

In re SE Milk Antitrust Litig., 2011 WL 2749579, at *8 n.13 (emphasis added).

       Plaintiffs’ true purpose for seeking to introduce this evidence is clear: plaintiffs seek to

argue that a violation of the 1977 Consent Decree, the Allen Settlement, or the Antitrust Guidelines

(none of which occurred) is anticompetitive conduct proscribed by the antitrust laws. Nothing in

those agreements purports to track, or imposes the same obligations on DFA as, the Sherman Act.

Proof that DFA violated a consent decree or the Allen Settlement would thus not prove a Sherman

Act violation; it would prove only a consent decree or settlement agreement violation. See Paul

M. Harrod Co. v. A. B. Dick Co., 194 F. Supp. 502, 504 (N.D. Ohio 1961) (“Such [antitrust




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consent] decrees do not necessarily reflect the prohibitions of the antitrust laws but may . . .

frequently enjoin performance of acts lawful in themselves.”).

       As made clear in Southeastern Milk and Paul M. Harrod Co., a consent decree can prohibit

conduct that is legal under the antitrust laws. Id. It is not clear how allegedly failing to comply

with a consent decree that prohibits lawful conduct, a private settlement agreement between DFA

and third parties, or antitrust guidelines that advise against lawful conduct when it gives rise to

even the appearance of impropriety would show knowledge that the proscribed conduct is

unlawful. The Court should reject plaintiffs’ pre-textual justifications for admitting the 1977

Consent Decree, Allen Settlement, and Antitrust Guidelines.

       B.       Because This Evidence Is Not Relevant To Knowledge Or Intent, It Is
                Improper Propensity Evidence And Must Be Excluded

       Plaintiffs’ argument that the 1977 Consent Decree should be admitted for context ignores

the substantial prejudicial effect this propensity evidence would cause. See Opp’n at 10. The

Second Circuit has admonished courts to exclude prior bad act evidence cloaked in the sheep’s

clothing of proving knowledge and intent, when the true purpose is to provide impermissible

propensity evidence. See United States v. McCallum, 584 F.3d 471, 477 (2d Cir. 2009). That is

precisely what plaintiffs attempt to do here.

       The cases plaintiffs rely on to argue in favor of admitting the 1977 Consent Decree for

context do not change the analysis.2 The consent decree referenced in In re Cardizem CD Antitrust

Litigation, 105 F. Supp. 2d 618 (E.D. Mich. 2000) and Biovail Corp. International v. Hoeschst

Aktiengesellschaft, 49 F. Supp. 2d 750 (D.N.J. 1999) is markedly different than the 1977 Consent

Decree. Indeed, the Cardizem and Biovail consent decree terms include the statement that the



2
       See Opp;n at 10, 10 n.10. Moreover, these cases are inapposite because none of them
considered or decided whether an antitrust consent decree would be admissible at a trial.


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purpose of the order’s requirement “is to remedy the lessening of competition.” Hoechst AG:

Proposed Consent Agreement To Aid Public Comment, 60 Fed, Reg. 49,609, 49, 611 (Sept. 25,

1995). In stark contrast, the 1977 Consent Decree’s provision limiting the term of milk sales

agreements includes the limitation that nothing “shall be construed to limit or affect the application

of the antitrust laws to Milk Sales Agreements.” United States v. Mid-Am. Dairymen, Inc., No. 73

CV 681-W-1 1977 WL 1425, at *3-4 (W.D. Mo. 1977). There is no language that the conduct

proscribed addresses or remedies the lessening of competition. Alvord-Polk, Inc. v. F. Schumacher

& Co. also fails to provide support because plaintiffs in that case did not seek to argue that the

defendant violated the consent decree, as plaintiffs do here. 37 F.3d 996 (3d Cir. 1994).

        C.      Plaintiffs’ Argument Relies On An Incorrect Definition Of Intent

        Even if plaintiffs were correct that this evidence has some relevance to DFA’s “intent” that

is distinguishable from “knowledge,” plaintiffs’ argument misunderstands the kind of intention

relevant to this inquiry. Unlike the securities-fraud cases upon which plaintiffs rely,3 civil

Sherman Act violations do not require scienter or knowledge of illegality. See Phillip E. Areeda

& Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their Application

¶ 805 Intent Requirement in Attempt Cases (4th ed. 2020 Supp.) (“The relevant intent, insofar as

it is separately required, is the intent to ‘monopolize,’ which means to dominate a market so as to

be able to obtain higher prices.”). Plaintiffs also attempt to conflate the meaning of “intent” by

citing to criminal antitrust cases, which is a different standard than civil antitrust actions.4 It should


3
        Opp’n at 8 n.7.
4
       See In re Mushroom Direct Purchaser Antitrust Litig., No. 06-0620, 2017 WL 895582, at
*5 (E.D. Pa. Mar. 6, 2017) (“While ‘a defendant’s state of mind or intent is an element of a
criminal antitrust offense’ the ‘general rule’ is that a civil antitrust offense can be ‘established by
proof of either an unlawful purpose or an anticompetitive effect.’” (quoting U.S. v. U.S. Gypsum
Co., 438 U.S. 422, 436 n.13 (1978)). The cases cited by plaintiffs, Opp’n at 8 n.6, all deal with
criminal intent in the antitrust context. Further, none of the cases cited by plaintiffs here addresses

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come as no surprise that plaintiffs fail to cite a single case from the private antitrust context holding

that allegations of consent decree violations are somehow relevant to the kind of “intent” to

monopolize or monopsonize that is required under the Sherman Act.

        To be clear, the “intent” requirement of attempted monopsonization is the intent to become

a monopsonist through exclusionary conduct—an element that is in no way illuminated by the

evidence plaintiffs seek to admit. See, e.g., Paladin Assocs., Inc. v. Montana Power Co., 328 F.3d

1145, 1163 n.22 (9th Cir. 2003) (“intent to monopolize,” for purposes of § 2 attempted

monopolization claim, means “intent to control prices or destroy competition in a relevant

market”); see also Belfiore v. New York Times Co., 826 F.2d 177, 183 (2d Cir. 1987) (defining

intent as the intent to achieve a monopoly). The key question of intent becomes whether DFA’s

intention in entering agreements with processors or other cooperatives was for the purpose of

excluding competitors or for legitimate business purposes. See McLain v. Real Estate Bd. of New

Orleans, Inc., 444 U.S. 232, 243 (1980). Whether DFA’s agreements violated the 1977 Consent

Decree, Allen Settlement, or DFA’s own Antitrust Guidelines (they do not) provides no support

for whether DFA intended to exclude competitors to create a monopsony.

        D.      Rule 403 Precludes The Introduction Of DFA’s Antitrust Guidelines

        Plaintiffs contend that they seek to use DFA’s Antitrust Guidelines to show DFA’s

knowledge and intent, but this argument has already been rejected by multiple courts. DFA’s

Antitrust Guidelines present impermissible legal conclusions and a significant risk that a jury will

be misled about the scope and requirements of the Sherman Act. Plaintiffs are simply wrong where

they assert5 that the court admitted into evidence certain sections of defendants’ internal antitrust



the admission of a consent decree for the purpose of showing intent. Instead, in the cases on which
plaintiffs rely, the courts permitted prior bad acts evidence for a limited purpose.
5
        See Opp’n at 13 n.14.


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compliance policies in MM Steel, LP v. Reliance Steel & Aluminum Co., No. 4:12-CV-1227, 2013

WL 6588836, at *3 (S.D. Tex. Dec. 16, 2013). There, the defendants sought to exclude evidence

or reference “to their internal antitrust compliance policies.” Id. The MM Steel court granted this

motion because such policies “‘present legal conclusions as to the scope and meaning of the

Sherman Act that would undermine the Court’s role as the jury’s sole source of law applicable to

this case’ and also ‘present a significant risk that the jury will be misled as to the Sherman Act’s

proper scope and interpretation.’” Id. (quoting United States v. North, 2007 WL 1630366, at *1

(D. Conn. June 5, 2007)). In North, the court excluded the portions of the antitrust policy that

defendant specifically sought to exclude and identified that the defendant could assert at trial an

objection to other portions that purport to describe what conduct violates federal antitrust laws.

2007 WL 1630366, at *1 (D. Conn. June 5, 2007). Indeed, plaintiffs have failed to identify a single

case where a company’s internal antitrust policy has been fully admitted into evidence.6

       Plaintiffs’ argument that the North court excluded only portions of the defendant’s antitrust

compliance policy is academic at best. The portions that plaintiffs seek to use in this case are the

sections that describe DFA’s legal obligations – the very portion excluded by the North court. For

example, plaintiffs intend to seek to admit testimony regarding the antitrust policy’s description of

“Prohibited Conduct.” 7 This is the precise type of evidence that the North and MM Steel courts



6
        For example, in J & M Distriuting, Inc. v. Hearth & Home Technologies, Inc., the court
excluded certain information contained in the policies because it was irrelevant and could
potentially confuse the jury. No. 13-CV-72 (SRN/TNL), 2015 WL 144797, at *2-3 (D. Minn. Jan.
12, 2015). The court also issued a limiting instruction with regard to the guidelines. Id. Further,
in In re Linerboard Antitrust Litigation, the court merely considered internal antitrust compliance
policies in the context of a summary judgment motion without considering whether Rule 403
should apply. 504 F. Supp. 2d 38, 41, 58 n.13 (E.D. Pa. 2007).
7
        See Ex. 1, Pls.’ Trial Ex. 2 (DFA DATA03-0880772-98 at DFA DATA03-0880793-95);
Ex. 2, S. Mathur Dep. 34:1-13, June 27, 2018. Exhibits referenced herein refer to the concurrently
filed June 23, 2020 Declaration of Alfred C. Pfeiffer Jr.


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excluded because it “present[s] legal conclusions as to the scope and meaning of the Sherman Act”

and “significant risk that the jury will be misled as to the Sherman Act’s proper scope and

interpretation.” North, 2007 WL 1630366, at *1. This Court should exclude DFA’s policy on the

same basis.

II.    CLAYTON ACT § 5 PROHIBITS THE ADMISSION OF THE 1977 CONSENT
       DECREE REGARDLESS OF PLAINTIFFS’ PRE-TEXTUAL JUSTIFICATIONS

       Plaintiffs do not – and cannot – effectively refute the fact that the 1977 Consent Decree

does not qualify for admission under Clayton Act § 5(a). Instead, plaintiffs incorrectly assert that

Clayton Act Section 5(a) is limited to contexts when plaintiffs seek to use a consent decree as

prima facie evidence. See Opp’n at 7. But this position is refuted by the cases DFA cited in its

motion, which demonstrate that courts exclude consent decrees under § 5(a) when plaintiffs seek

to argue that a defendant’s violation of a consent decree shows anticompetitive conduct. Contrary

to plaintiffs’ explanation of Control Data Corp. v. IBM Corp., Opp’n at 7 n.5, the court excluded

an antitrust consent decree under Clayton Act § 5(a) when a plaintiff did not assert an independent

cause of action pursuant to the consent decree, but instead asserted that the defendant’s violation

of a consent decree showed a monopolistic practice. 306 F. Supp. 839, 844-46 (D. Minn. 1969).

The court rejected plaintiff’s attempt to base an antitrust action off a violation of a consent decree,

calling it “perhaps a distinction without a difference [to a private cause of action based upon a

consent decree].” Id. at 844. Similarly, in Cinema Service Corp. v. Twentieth Century-Fox Film

Corp., the plaintiff sought to use a consent decree to show, inter alia, that dealings “‘which violate

the decree are necessarily contracts in restraint of trade outlawed by § 1 of the Sherman Act.’”

477 F. Supp. 174, 178 (W.D. Pa. 1979) (quoting plaintiffs’ argument). The court rejected this

approach, holding that it “is well settled that a consent judgment in a civil case, or any evidence

thereof, is not admissible in a treble damage action. . . . Such evidence can have no real purpose



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except to prejudice the defendant before a jury.” Id. (citations omitted). Plaintiffs do not even

attempt to distinguish International Shoe Machine Corp. v. United Shoe Machine Corp., 315 F.2d

449, 459 (1st Cir. 1963), and plaintiffs’ attempts to distinguish the clear weight of authority on this

topic is unavailing.8

       The cases cited by plaintiffs do not change this analysis.           In Crouse-Hinds Co. v.

InterNorth, Inc., the court considered whether to admit evidence of a prior consent decree in a

private plaintiff action involving a merger brought under Section 7 of the Clayton Act. 518 F.

Supp. 413 (N.D.N.Y. 1980). The plaintiff in Crouse-Hinds did not seek treble damages; instead,

the plaintiff sought an injunction prohibiting the defendant from acquiring the plaintiff, and the

court explicitly noted that its decision in that case was affected by “the unique demands made upon

the Court by Section 7.” Id. at 415.9

III.   THE ADMISSIBILITY OF EVIDENCE AT TRIAL WAS NOT AN ISSUE
       ACTUALLY DECIDED ON SUMMARY JUDGMENT

       Finally, as DFA has pointed out elsewhere,10 plaintiffs are flatly wrong that this Court

already decided issues of admissibility for trial, including whether the 1977 Consent Decree, Allen

Settlement, or Antitrust Guidelines are admissible during the jury trial. DFA did not move to



8
        See Opp’n at 7 n.5. For example, in Petruzzi’s IGA Supermarkets, Inc. v. Darling-
Delaware Co., the court held that a prior action “ended in a consent decree, the admission of which
is expressly excluded by Section 5(a).” No. 86-0386, 1992 WL 212230, at *18 (M.D. Pa. July 31,
1992), aff’d in relevant part, rev’d in part, 998 F.2d 1224, 1247 (3d Cir. 1993).
9
        The other cases cited by plaintiffs are also inapposite. Opp’n at 7. In In re National Ass’n
of Music Merchants, Musical Instruments & Equipment Antitrust Litigation, the court permitted
plaintiffs to refer to a consent decree as well as government investigations for the purpose of
meeting the Twombly plausibility standard to survive a motion to dismiss. MDL No. 2121, 2011
WL 3702453, at *1 (S.D. Cal. Aug. 22, 2011). In United States v. General Dynamics Corp., 258
F. Supp. 36, 62-63 (S.D.N.Y. 1966) and Vitagraph, Inc. v. Perelman, 95 F.2d 142, 146 (3d Cir.
1936), the court did not evaluate whether Clayton Act § 5(a) precluded the introduction of prior
consent decrees.
10
       See Reply in Supp. of Mot. in Limine No. 4 at 8-9, ECF No. 252.


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exclude evidence of the 1977 Consent Decree, Allen Settlement, or Antitrust Guidelines (or

violations thereof) in its summary judgment motion, nor did it address the admissibility of that

evidence at all.11 DFA raised purely legal arguments at summary judgment that required no

holding from the Court as to the relevance or admissibility of any evidence. Indeed, when DFA

responded to the gratuitous 81-page statement of facts that plaintiffs submitted, DFA told the Court

that it could “assume (solely for purposes of this motion) that all 145 of plaintiffs’ purported ‘facts’

are genuinely in dispute” because those purported “facts” had no bearing on the purely legal

arguments that DFA had made.12 Accordingly, the admissibility of the 1977 Consent Decree,

Allen Settlement, or Antitrust Guidelines was never before the Court during summary judgment,

and thus, was never actually decided at that time.

IV.    CONCLUSION

       For the foregoing reasons, DFA respectfully requests that the Court grant its motion in

limine to exclude the 1977 Consent Decree, DFA’s Settlements, and DFA’s Antitrust Guidelines.




11
         Courts are clear that defendants retain their rights to challenge the admissibility of evidence
at trial irrespective of whether the Court relied upon that evidence at summary judgment. See
Compressor Eng’g Corp. v. Mfrs. Fin. Corp., No. 09-14444, 2019 WL 1326035, at *4-6 (E.D.
Mich. Mar. 25, 2019) (citing Fed. R. Civ. P. 56(c) 2010 advisory committee notes) (finding that
plaintiffs’ evidence could be considered at summary judgment and defendants did not object to the
admissibility of the evidence at the summary judgment stage as provided for under Fed. R. Civ. P
56(c)(2), but “[t]hat does not mean . . . the Defendants cannot object to the use of the [evidence]
at trial.”). Because certain challenges to the admissibility of evidence—including but not limited
to challenges under Rule 403—depend upon weighing evidence in a manner at odds with the Rule
56 standards, it cannot be the case that a court’s reliance on evidence at summary judgment
precludes a defendant from subsequently objecting to that evidence at trial.
12
       See DFA’s Resp. to Pl.s’ “Concise Statement of Disputed Material Facts” at 2, ECF No.
115-1 (Mar. 6, 2019).


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Dated: June 23, 2020                   Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2020, I electronically filed with the Clerk of Court the
foregoing document using the CM/ECF system and the below parties via email. The CM/ECF
system will provide service of such filing via Notice of Electronic Filing (NEF) to the following
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